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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,                    :
                                             :
               Plaintiff,                    :
                                             :
       v.                                    :       Criminal Action No. 17-35-GMS
                                             :
DALIAN WASHINGTON,                           :
                                             :
               Defendant.                    :


                        DEFENDANT’S UNOPPOSED MOTION
                    FOR CONTINUANCE OF SENTENCING HEARING

       Defendant, Dalian Washington, by and through his undersigned counsel, Edson A. Bostic,

Federal Public Defender for the District of Delaware, hereby respectfully moves the Court for an

Order continuing the sentencing hearing for forty-five (45) days.

       In support of the motion, the Defendant submits as follows:

       1.      On October 11, 2017, Mr. Washington entered a guilty plea to Count 1 of the

Indictment, charging him with sex trafficking of a child, in violation of 18 U.S.C. § 1591(a)(1).

       2.      Sentencing in this matter is currently scheduled for January 17, 2018, at 10:00 a.m.

       3.      In preparation for sentencing, Counsel recently retained a forensic psychologist to

assist with the collecting and development of mitigation evidence necessary to Mr. Washington’s

sentencing. Unfortunately, the expert will be on vacation from December 21, 2017 through January

5, 2018, and he does not believe that he can meet with Mr. Washington until after his return. Any

report prepared by the expert, which the defense intends to rely on at sentencing, will need to be

made available to the government far enough in advance of the sentencing hearing to allow the

government sufficient time to review it.
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       4.      In light of the foregoing, Counsel seeks a forty-five day postponement of the

sentencing hearing. Counsel has discussed this motion and the length of the requested continuance

with Mr. Washington and he has no objection to this motion.

       5.    Counsel for the government, Assistant United States Attorney, Elizabeth Van Pelt,

informed Counsel that the government also has no objection to the instant motion.

       WHEREFORE, for these reasons and any other such reasons that shall appear to the

Court, Counsel respectfully requests that sentencing in this matter be continued for at least thirty

(30) days, until after February 16, 2018, if consistent with the Court’s calendar.

                                              Respectfully submitted,

Dated: December 7, 2017                       /s/ Edson A. Bostic
                                              EDSON A. BOSTIC
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                                              District of Delaware
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